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         ORDERED in the Southern District of Florida on April 19, 2024.



                                                               Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION


          In re:                                                        Case No. 24-12653-SMG
          JEFFREY MARK GALLUPS                                          Chapter 7

                     Debtor.
                                                       /

            AGREED ORDER GRANTING TRUSTEE’S AGREED EX PARTE MOTION FOR
              TURNOVER OF DEBTOR’S FUNDS HELD BY GEORGIA STATE COURT
                                     RECEIVER


                This matter came before the Court upon the Trustee’s Agreed Ex Parte Motion for

         Turnover of Debtor’s Funds Held By Georgia State Court Receiver (“Motion”) [ECF #44]. The

         Court having reviewed said Motion, having been advised that counsel for the parties agree to the

         entry of this Order, and being otherwise fully advised in the premises, it is ORDERED as follows:

                1.     The Motion is GRANTED.

                                                           1
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        2.      The Funds (as defined in the Motion) are to be held by the Trustee as property of

the bankruptcy estate, subject to the further order of this Court prior to any use or disbursement.

The relief granted herein is not meant to be, nor will it constitute, any determination as to any

special rights, interests, or priorities that any third party may claim in the Funds or against the

bankruptcy estate generally.

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Submitted by: Mark Bonacquisti, Esq.
              FBN 0703257

                The Salkin Law Firm
                P.O. Box 15580
                Plantation, FL 33318
                (954) 423-4469
                mark@msbankrupt.com

Mr. Bonacquisti will provide a true and correct copy and file a certificate of service to all interested
parties.




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